 

Case:18-02082-jwo Doc #:59 Filed: 10/04/2021 Page 1of2
Form DOMCRT (08/12)
United States Bankruptcy Court
Western District of Michigan
One Division Ave., N.
Room 200
Grand Rapids, MI 49503

IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):

Robert George Esdale Case Number 18-02082-jwb

1533 Otsego Dr.

Okemos, Ml 48864 SHAPES

SSN: xxx-xx-7632 Honorable James W. Boyd

Debtor

 

 

 

DEBTOR'S CERTIFICATION REGARDING
DOMESTIC SUPPORT OBLIGATION PURSUANT TO 11 U.S.C. § 1328(a)

The debtor(s) in the above-referenced matter certify as follows:

Meo © Spouse | have not been required by a judicial or administrative order, or by
statute, to pay any Domestic Support Obligation as defined in 11 U.S.C

§ 101(14A), either before this proceeding was filed, or at any time after
the date of filing.

-OR-
Debtor M Spouse | have paid all amounts that | am required to pay under any judicial or

administrative order, or statutes, for a Domestic Support Obligation as
defined in 11 U.S.C. § 101(14A), including all amounts that came due

after the petition was filed and pre—petition arrears to the extend
provided for in the plan.

| declare under penalty of perjury that the information provided in the Certificate is true and correct.

cae 9-30- Al Qeobd S deh

Debtor

 

Date:

 

 

Joint Debtor(if applicable)

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